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Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF TEXAS

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           02/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                National Rifle Association of America

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  11250 Waples Mill Road
                                  Fairfax, VA 22030
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Fairfax                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.nra.org


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
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Debtor    National Rifle Association of America                                                     Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
                                          Chapter 11. Check all that apply:
                                                             Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                 proceed under Subchapter V of Chapter 11.
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12

9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                               Case number
                                                 District                                 When                               Case number


10. Are any bankruptcy cases            No
    pending or being filed by a
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor     Sea Girt LLC                                                 Relationship              Affiliate
                                                 District                                 When                           Case number, if known




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
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Debtor   National Rifle Association of America                                                   Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                    50-99                                          5001-10,000                               50,001-100,000
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    National Rifle Association of America                                                    Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      January 15, 2021
                                                  MM / DD / YYYY


                             X   /s/ Wayne LaPierre                                                       Wayne LaPierre
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Executive Vice President




18. Signature of attorney    X   /s/ Patrick J. Neligan, Jr.                                               Date January 15, 2021
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Patrick J. Neligan, Jr. 14866000
                                 Printed name

                                 Neligan LLP
                                 Firm name

                                 325 N. St. Paul
                                 Suite 3600
                                 Dallas, TX 75201
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     214-840-5300                  Email address      pneligan@neliganlaw.com

                                 14866000 TX
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
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 Fill in this information to identify the case:
 Debtor name National Rifle Association of America
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS                                                                               Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Ackerman                                                                               Disputed                                                                      $1,273,800.12
 McQueen, Inc.
 1601 Northwest
 Expressway
 Oklahoma City, OK
 73118-1438
 Membership                                                                                                                                                             $961,850.00
 Marketing Partners
 LLC
 11250 Waples Mill
 Road, Suite 310
 Fairfax, VA 22030
 Gould Paper                                                                                                                                                            $855,746.40
 Corporation
 Attn: Warren
 Connor
 99 Park Avenue,
 10th Floor
 New York, NY 10016
 Infocision                                                                                                                                                             $712,034.83
 Management Corp.
 325 Springside
 Drive
 Akron, OH 44333
 Under Wild Skies                                                                       Disputed                                                                        $550,000.00
 201 N. Union Street,
 Suite 510
 Alexandria, VA
 22314
 Valtim Incorporated                                                                                                                                                    $549,177.67
 P. O. Box 114
 Forest, VA 24551
 Quadgraphics                                                                                                                                                           $522,236.91
 N63W23075 Hwy 74
 Sussex, WI 53089




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    National Rifle Association of America                                                              Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Communications                                                                                                                                                         $509,746.09
 Corp of America
 Attn: Judy Reid
 13195 Freedom Way
 Boston, VA 22713
 Membership                                                                                                                                                             $373,000.00
 Advisors Public REL
 11250 Waples Mill
 Road, Suite 310
 Fairfax, VA 22030
 Salesforce.Com, Inc.                                                                                                                                                   $332,969.11
 One Mark St - The
 Landmark
 Suite 300
 San Francisco, CA
 94105
 Mercury Group                                                                          Disputed                                                                        $258,613.17
 1601 NW
 Expressway, Suite
 1100
 Oklahoma City, OK
 73118
 Speedway                                                                                                                                                               $200,000.00
 Motorsports Inc.
 P.O. Box 600
 Concord, NC 28026
 Image Direct Group                                                                                                                                                     $143,206.31
 LLC
 200 Monroe Avenue
 Building 4
 Frederick, MD 21701
 Google                                                                                                                                                                 $132,016.49
 1600 Amphitheatre
 Parkway
 Mountain View, CA
 94043-1351
 TMA Direct, Inc.                                                                                                                                                       $116,989.64
 12021 Sunset Hills
 Road, Suite 350
 Manassas, VA 20109
 United Parcel                                                                                                                                                          $100,883.93
 Services
 P.O. Box 7247-0244
 Philadelphia, PA
 19170
 Membership                                                                                                                                                               $90,000.00
 Advisors Fund
 Raising
 11250 Waples Mill
 Road, Suite 310
 Fairfax, VA 22030



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    National Rifle Association of America                                                              Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Stone River Gear,                                                                                                                                                        $89,284.80
 LLC
 P.O. Box 67
 Bethel, CT 06801
 Krueger Associates,                                                                                                                                                      $66,762.00
 Inc.
 105 Commerce
 Drive
 Aston, PA 19014
 CDW Computer                                                                                                                                                             $59,541.05
 Centers, Inc.
 P.O. Box 75723
 Chicago, IL 60675




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

IN RE:                                                  §                  CHAPTER 11
                                                        §
NATIONAL RIFLE ASSOCIATION                              §
OF AMERICA                                              §                  CASE NO.
                                                        §
           DEBTOR1                                      §                  Joint Administration Requested


      STATEMENT OF CORPORATE OWNERSHIP PURSUANT TO RULES 1007(a)(1)
         AND 7007.1 OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE

           National Rifle Association of America is a not-for-profit, tax exempt organization with

no equity ownership and therefore there are no entities to disclose under Federal Rules of

Bankruptcy Procedure 1007(a)(1) and 7007.1(a).

Dated: January 15, 2021                                 By:    /s/ Wayne LaPierre
                                                        Name: Wayne LaPierre
                                                        Title: Executive Vice President




1
    The last four digits of the Debtors’ taxpayer identification numbers are: 6130.

_____________________________________________________________________________________________
Corporate Ownership Statement                                                         Page 1
90270v.1
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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

IN RE:                                         §             CHAPTER 11
                                               §
NATIONAL RIFLE ASSOCIATION                     §
OF AMERICA                                     §             CASE NO. ___
                                               §
           DEBTOR1                             §             Joint Administration Requested


     LIST OF EQUITY SECURITY HOLDERS PURSUANT TO FEDERAL RULE OF
                  BANKRUPTCY PROCEDURE RULE 1007(a)(3)

           National Rifle Association of America is a not-for-profit, tax exempt organization with

no equity ownership and therefore there are no entities to disclose under Federal Rule of

Bankruptcy Procedure 1007(a)(3).

Dated: January 15, 2021                        By:    /s/ Wayne LaPierre
                                               Name: Wayne LaPierre
                                               Title: Executive Vice President




1
 The last four digits of the Debtors’ taxpayer identification numbers are: 6130.
_____________________________________________________________________________________________
List of Equity Security Holders Pursuant to Federal Rule of Bankruptcy Procedure
Rule 1007(a)(3)                                                                       Page 1
90275v.1
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 Fill in this information to identify the case:

 Debtor name         National Rifle Association of America

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                 Schedule H: Codebtors (Official Form 206H)
                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

                 Other document that requires a declaration               Statement of Corporate Ownership
                                                                           List of Equity Security Holders

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          January 15, 2021                        X /s/ Wayne LaPierre
                                                                       Signature of individual signing on behalf of debtor

                                                                       Wayne LaPierre
                                                                       Printed name

                                                                       Executive Vice President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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